Case 2:25-cv-01963-MEF-MAH             Document 225         Filed 05/02/25      Page 1 of 4 PageID:
                                             2171



VIA ECF                                                                        May 2, 2025
Honorable Michael E. Farbiarz
United States District Judge
U.S. Post Office & Courthouse
Newark, New Jersey 07101

       Re: Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz:

       Petitioner writes to notify the Court of a recent decision relevant to the Court’s
consideration of Petitioner’s pending motions for bail (ECF 53, 93) and a preliminary injunction
ordering release (ECF 66, 67). In Mahdawi v. Trump, No. 25-cv-00389-GWC, -- F.Supp.3d -- ,
2025 WL 1243135 (D.Vt. Apr 30, 2025), the district court ordered the petitioner’s release on bail
pursuant to Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001), following an evidentiary hearing.1
        The petitioner in Mahdawi is a Columbia University graduate student who, like Mr. Khalil,
“filed a petition for a writ of habeas corpus challenging the government’s alleged retaliatory and
targeted detention and attempted removal . . . for his constitutionally protected speech,” including
a request for release on bail. 2025 WL 1243135, at *1 (internal citations and quotation marks
omitted). The petitioner in Mahdawi, like Mr. Khalil, raises claims directly challenging his
ongoing detention on First and Fifth Amendment grounds, in addition to claims challenging the
government’s policy of retaliation and Secretary Rubio’s determination in his case.
        In its decision granting release, the district court held that it had jurisdiction for purposes
of the bail motion, addressing three statutes of relevance to Mr. Khalil’s case. First, the district

1
  In both his motion for bail and his motion for a preliminary injunction, Petitioner asks this Court
to order his release pending adjudication of his habeas petition. His habeas petition challenges
several underlying government actions, including: (1) the federal government’s policy of
retaliation against noncitizens engaged in pro-Palestinian speech in general and as applied to
Petitioner; (2) Secretary Rubio’s determination with respect to the Petitioner; and (3) the federal
government’s retaliatory and punitive detention of Petitioner. Irrespective of any further discovery
that may or may not be necessary across these various issues in order to adjudicate his habeas
claims in full, Op. 64 n.74, Petitioner respectfully maintains that a more limited evidentiary record
is sufficient for adjudication of the portions of his motions seeking release pendente lite, whether
based on the current record or any expedited evidentiary hearing this Court may order for the
purpose of adjudicating Petitioner’s motions for release. Petitioner has submitted evidence of
federal officials’ retaliatory motives in his case (ECF 68-1, 68-2, 68-3, 68-4, 175-6, 175-10, 175-
11, 175-12, 175-13, 175-15, 175-16, 175-17, 175-18, 175-19, 175-20, in addition to officials’
statements quoted in the petition and briefing). Petitioner has also submitted evidence of his lawful
permanent resident status (ECF 56-2), family ties to his U.S. citizen wife and child (ECF 55, 56-
4, 56-5, 203, 207), educational program and upcoming graduation (ECF 56-1), immigration court
filings, including evidence refuting removal charges (ECF 198-1, 200, 210-1, 210-2, 210-3, 211-
1, 212-1, 213-1, 213-2), and letters of support from friends, classmates, teachers, and colleagues
(ECF 56-6, 93-1), all of which demonstrates his community ties and his lack of flight risk or
dangerousness.
                                                  1
Case 2:25-cv-01963-MEF-MAH              Document 225         Filed 05/02/25       Page 2 of 4 PageID:
                                              2172



court concluded that a First Amendment challenge to detention does not fall within the three
discrete actions referenced in 8 U.S.C. § 1252(g) given the Supreme Court’s analysis in Reno v.
AADC, 525 U.S. 471 (1999). See Mahdawi, 2025 WL 1243135, at *6 (“Such an analysis allows
for the exercise of habeas jurisdiction in cases that do not seek to challenge the removal
proceedings but are directed instead at administrative detention alleged to be employed to stifle
protected speech.”). Next, the district court held that “§ 1226(e) does not preclude review through
habeas procedures of claims that administrative action violates the Constitution” in light of
Supreme Court and circuit precedent finding jurisdiction over constitutional challenges to
detention. Id. With respect to § 1252(b)(9), the court held that “[t]he legal questions” regarding
his “substantial claim that the Government arrested him to stifle speech with which it disagrees”
are not questions that “‘arise from’ the Government’s decision to place him in removal
proceedings” because claims of retaliatory detention are “quite separate from the removal
procedures followed by the immigration courts.” Id. at *8 (citing Jennings v. Rodriguez, 583 U.S.
281, 295 & n.3 (2018)).
         After concluding that “there is a sufficient basis for jurisdiction to proceed to the issue of
release or detention,” the district court then turned to the merits of the bail motion under the
“substantial claims” prong of Mapp v. Reno. Mahdawi, 2025 WL 1243135, at *8-13. Like Mr.
Khalil, the petitioner in Mahdawi raised First and Fifth Amendment challenges to detention, both
of which the district court found substantial. The district court observed that Mr. Mahdawi’s
speech was entitled to the highest First Amendment protections and the limited evidence developed
so far was sufficient to demonstrate a substantial First Amendment claim of retaliatory detention.
Id. at *10 (“A bail hearing is not the time to rule on the merits of the evidence or the methods of
inferring retaliatory motive. It is sufficient at this juncture to consider the Government's public
statements, including Executive Orders 14161 and 14188, as evidence of retaliatory intent.”). The
district court similarly concluded that Mr. Mahdawi raised a substantial Fifth Amendment due
process challenge to his detention in light of the government’s punitive purpose and/or lack of
legitimate purpose. Id. at *11 (“Immigration detention cannot be motivated by a punitive purpose.
Nor can it be motivated by the desire to deter others from speaking.”).
        Next, the district court held that the petitioner demonstrated extraordinary circumstances
and that release is necessary to make the habeas remedy effective. First, the court found that the
petitioner presented no risk of flight or danger to the community, which was an extraordinary
circumstance in favor of release.2 Id. at *12. Second, the court recognized “the extraordinary
setting of this case and others like it” where “[l]egal residents—not charged with crimes or
misconduct—are being arrested and threatened with deportation for stating their views on the
political issues of the day.” Id.3 Recalling the historic role of courts in addressing retaliation against
noncitizens during the Red Scare, Palmer Raids, and the McCarthy period, the court observed that
“this case . . . is extraordinary in the sense that it calls upon the ancient remedy of habeas to address
a persistent modern wrong.” Id. at *13. Finally, the court held that “release is necessary to make

2
  Notably, Respondents here have not contested Mr. Khalil’s assertions, supported by his bail
motion submissions, that he is not a flight risk or danger to the community. ECF 99 at 26
(acknowledging and not challenging Petitioner’s argument “that he is not a flight risk or a danger
to the community,” stating only that “personal hardships are not the sort that give rise to relief”).
3
  Petitioner also provides evidence regarding other targeted individuals. ECF 174-3, 175-4, 175-
5, 175-6, 175-8.
                                                    2
Case 2:25-cv-01963-MEF-MAH              Document 225         Filed 05/02/25       Page 3 of 4 PageID:
                                              2173



habeas effective” in light of the curtailment of the Petitioner’s freedom of speech while in
detention. Id. at *13 (observing that “release is essential to make habeas relief effective, not only
for him but for others who wish to speak freely without fear of government retaliation”).
        On this basis, the district court ordered the petitioner’s release subject to certain conditions.
Id. at *14-15. The court further denied the government’s request for a stay pending appeal,
emphasizing not only the merits but also the irreparable harm to the petitioner and the public
interest favoring his release. Id. at *13-15. Mr. Mahdawi was released the same day.

                                                       /s/ Jeanne LoCicero

 AMERICAN CIVIL LIBERTIES UNION OF NEW                 CENTER FOR CONSTITUTIONAL RIGHTS
 JERSEY FOUNDATION                                     Baher Azmy
 Jeanne LoCicero                                       Samah Sisay*
 Farrin R. Anello                                      Diala Shamas*
 Molly K.C. Linhorst                                   666 Broadway, 7th Floor
 570 Broad Street, 11th Floor                          New York, NY 10012
 Newark, New Jersey 07102                              Tel: (212) 614-6464
 973-854-1715
                                                       CLEAR PROJECT
 NEW YORK CIVIL LIBERTIES UNION                        MAIN STREET LEGAL SERVICES, INC.
 FOUNDATION                                            Ramzi Kassem*
 Amy Belsher*                                          Naz Ahmad
 Robert Hodgson*                                       Shezza Abboushi Dallal*
 Veronica Salama*                                      Mudassar Toppa*
 Molly Biklen*                                         CUNY School of Law
 125 Broad Street, 19th Floor                          2 Court Square
 New York, N.Y. 10004                                  Long Island City, NY 11101
 Tel: (212) 607-3300                                   Tel: (718) 340-4558
 AMERICAN CIVIL LIBERTIES UNION                        WASHINGTON SQUARE LEGAL SERVICES, INC.
 FOUNDATION                                            Alina Das*
 Omar Jadwat                                           Immigrant Rights Clinic
 Noor Zafar*                                           245 Sullivan Street, 5th Floor
 Sidra Mahfooz*                                        New York, New York 10012
 Brian Hauss*                                          Tel: (212) 998-6430
 Esha Bhandari*
 Vera Eidelman*                                        DRATEL & LEWIS
 Tyler Takemoto*                                       Amy E. Greer
 Brett Max Kaufman*                                    29 Broadway, Suite 1412
 125 Broad Street, 18th Floor                          New York, NY 10006
 New York, NY 10004                                    Tel: (212) 732-8805
 Tel: (212) 549-2500                                   Fax: (212) 571-3792
                                                       VAN DER HOUT LLP
                                                       Marc Van Der Hout (CA Bar #80778)*
                                                       Johnny Sinodis (CA Bar #290402)*
                                                       Oona Cahill (CA Bar #354525)*

                                                   3
Case 2:25-cv-01963-MEF-MAH   Document 225      Filed 05/02/25      Page 4 of 4 PageID:
                                   2174



                                         360 Post St., Suite 800
                                         San Francisco, CA 94108
                                         Tel: (415) 981-3000
                                         Fax: (415) 981-3003

                                         Counsel for Petitioner
 * Appearing Pro hac vice




                                     4
